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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

  DANIEL LUGO,

                Plaintiff,
  v.
                                                   CASE NO.
  SOUTH BEACH VACATIONS, LLC,

            Defendant.
  _________________________________/

                                       COMPLAINT

         Plaintiff, Daniel Lugo, by and through his undersigned counsel, hereby sues

  the Defendant, SOUTH BEACH VACATIONS, LLC, for injunctive relief

  pursuant to the Americans With Disabilities Act, 42 U.S.C. §12181, et seq. (the

  "ADA") and in support thereof states as follows:

                                     JURISDICTION

         1. This court has subject-matter jurisdiction since this action arises pursuant

  to 28 U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42 U.S.C. §12181

  et seq. based upon Defendant's violations of Title III of the ADA.

                                           VENUE

         2. Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b) (2)

  because Defendant is a resident of this district and the facility, whose reservation

  systems are at issue herein, is situated in this district.
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                                        PARTIES

        3. Plaintiff, Daniel Lugo, is an individual who is over eighteen years of age

  and sui juris. Plaintiff is permanently disabled as such term is defined by the ADA

  and is substantially limited in performing one or more major life activities due to

  permanent damage to his spinal cord as a result of a broken neck caused by a

  motor vehicle accident. Plaintiff must use a wheelchair to ambulate. Plaintiff also

  has limited use of his hands and fingers. The online hotel reservation system for

  Defendant's hotel, as well as a third party reservations service that provides the

  public with the ability to reserve a room at Defendant’s hotel, fail to comply with

  any of the requirements of 28 C.F.R. §36.302(e) and therefore Plaintiff's full and

  equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations offered thereon are restricted and limited because of Plaintiff’s

  disability and will be restricted in the future unless and until Defendant is

  compelled to comply with the ADA’s requirements with regard to the online

  reservations services providing for reserving rooms at Defendant’s hotel. Plaintiff

  intends to visit the online reservation services described herein in the near future,

  and within thirty (30) days, to book a hotel room and utilize the goods, services,

  facilities, privileges, advantages and/or accommodations being offered and/or to

  test the online reservation services for compliance with 28 C.F.R. §36.302(e).




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           4. Defendant is the operator and/or owner of the SBV Luxury Ocean

  Hotel Suites, located at 1458 Ocean Drive in Miami Beach, Florida ("the SBV”).

  The online reservation system for the SBV is found at

  www.southbeachluxuryoceanviewhotel.com. A third party reservation service

  which provides for the reserving of rooms at the SBV (which does not provide for

  the reserving of rooms that are identified or described as accessible and which does

  not describe the accessible or inaccessible features within the common areas of the

  SBV) is expedia.com, (“the Third Party Reservations Service”). The SBV's

  reservation system and the Third Party Reservations Service are collectively

  referred to herein as the "Reservations Services".

        CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

           5. On July 26, 1990, Congress enacted the ADA explaining that the

  purpose of the ADA was to provide a clear and comprehensive national mandate

  for the elimination of discrimination against individuals with disabilities and to

  provide clear, strong, consistent, enforceable standards addressing said

  discrimination, invoking the sweep of congressional authority in order to address

  the major areas of discrimination faced day-to-day by people with disabilities to

  ensure that the Federal government plays a central role in enforcing the standards

  set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).




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              6. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,

  2010, the Department of Justice (“DOJ”), Office of the Attorney General,

  published revised regulations for Title III of the Americans With Disabilities Act

  of 1990 in the Federal Register to implement the requirements of the ADA. Public

  accommodations, including places of lodging, were required to conform to these

  regulations on or before March 15, 2012.

              7. On March 15, 2012, new regulations implementing Title III of the

  ADA took effect, imposing significant new obligations on inns, motels, hotels and

  other "places of lodging". 28 C.F.R. §36.302(e) states:

         ''(1) Reservations made by places of lodging. A public accommodation that
  owns, leases (or leases to), or operates a place of lodging shall, with respect to
  reservations made by any means, including by telephone, in-person, or through a
  third party -
  (i) Modify its policies, practices, or procedures to ensure that individuals with
  disabilities can make reservations for accessible guest rooms during the same hours
  and in the same manner as individuals who do not need accessible rooms;
  (ii) Identify and describe accessible features in the hotels and guest rooms offered
  through its reservations service in enough detail to reasonably
  permit individuals with disabilities to assess independently whether a given hotel
  or guest room meets his or her accessibility needs;1



  1
    The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
  Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
  provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
  Justice's official comments state that "information about the Hotel should include, at a minimum, information about
  accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
  route to the accessible room or rooms. In addition to the room information described above, these hotels should
  provide information about important features that do not comply with the 1991 Standards." An agency's
  interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
  must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
  the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


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  (iii) Ensure that accessible guest rooms are held for use by individuals with
  disabilities until all other guest rooms of that type have been rented and the
  accessible room requested is the only remaining room of that type;
  (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
  and ensure that the guest rooms requested are blocked and removed from all
  reservations systems; and
  (v) Guarantee that the specific accessible guest room reserved through its
  reservations service is held for the reserving customer, regardless of whether a
  specific room is held in response to reservations made by others."
          8. The DOJ Official Comments to 28 C.F.R.§ 36.302(e) (1) specifically

  address the common use of third party reservations services in the hotel industry

  and the hotel industry’s attempts to exclude such sites from the requirements of the

  regulation. In rejecting this request, the DOJ, in the DOJ Official Comments,

  states as follows:

        “Hotels and organizations commenting on their behalf also requested that
        the language be changed to eliminate any liability for reservations made
        through third parties, arguing that they are unable to control the actions of
        unrelated parties. The rule, both as proposed and as adopted, requires
        covered public accommodations to ensure that reservations made on their
        behalf by third parties are made in a manner that results in parity between
        those who need accessible rooms and those who do not.”

        9.    The SBV is a place of public accommodation that owns and/or leases

  and operates a place of lodging pursuant to the ADA. The Reservations Services

  enable members of the public to reserve a guest room at the SBV. The

  Reservations Services are subject to the requirements of 28 C.F.R.§ 36.302(e) and

  Defendant is responsible for said compliance.




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            10. Most recently, during March, 2022 Plaintiff attempted to specifically

  identify and book a guaranteed reservation for an accessible hotel room at the SBV

  from the Reservations Services but was unable to do so due to the failure of these

  services to comply with the requirements set forth in paragraph 7.

            11. Plaintiff is an advocate of the rights of similarly situated disabled

  persons and, pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323

  (11th Cir. 2013), is a "tester" for the purpose of asserting his civil rights,

  monitoring, ensuring, and determining whether places of public accommodation,

  including online reservation systems for places of lodging, are in compliance with

  the ADA.

            12. Defendant has discriminated against Plaintiff by denying him access

  to and full and equal enjoyment of the goods, services, facilities, privileges,

  advantages and accommodations offered at the SBV through the Reservations

  Services due to the substantive ADA violations contained thereon.

  COUNT I-CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA
               THE SBV'S RESERVATION SYSTEM

            13. Plaintiff realleges and incorporates paragraphs 1 through 12 above

  herein.

            14. The online reservation system for the SBV encountered by Plaintiff

  when he visited it failed to comply with any of the requirements of 28 C.F.R.§

  36.302(e)(1). When Plaintiff visited the SBV’s online reservation system, he tried

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  to make a reservation for an accessible hotel room at the SBV, since he requires an

  accessible hotel room due to his inability to walk, but it was not possible to make

  such a reservation. It was possible to reserve a hotel room that was not accessible.

  For this reason Defendant has no policy, practice, or procedure in place to ensure

  that individuals with disabilities can make reservations for accessible hotel rooms

  during the same hours and in the same manner as individuals who do not need

  accessible hotel rooms. This constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(i).

  When Plaintiff visited the SBV's online reservation system, he searched the site for

  the identification and descriptions of accessible features at the SBV and hotel

  rooms offered through the reservation service so that he could assess independently

  whether the SBV or a specific hotel room met his accessibility needs in light of his

  disability but the reservation service contained no such descriptions at all. This

  constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(ii). In light of the foregoing,

  Defendant also necessarily violated 28 C.F.R. §36.302(e)(1)(iii)-(v) in that since

  the online reservation service does not describe any accessible hotel room and does

  not, in turn, allow the reserving of such accessible hotel room, the reservation

  service cannot hold such unavailable accessible hotel room in the reservation

  system until all other units have been rented, block such unavailable accessible

  hotel rooms from the system once reserved, and guaranty that such unavailable




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  accessible hotel rooms will be held for the reserving customer as required by

  sections (iii) - (v) respectively.

          15. Plaintiff is without an adequate remedy at law and is suffering

  irreparable harm and he reasonably anticipates that he will continue to suffer

  irreparable harm unless and until Defendant is required to correct the ADA

  violations to the online reservation system for the SBV and maintain the online

  reservation system and accompanying policies in a manner that is consistent with

  and compliant with the requirements of 28 C.F.R. §36.302(e).

           16. Plaintiff has retained the undersigned counsel for the filing and

  prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

  and expenses from Defendant, including litigation expenses and costs pursuant to

  42 U.S.C. §12205.

           17. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority

  to grant injunctive relief to Plaintiff, including an Order compelling Defendant to

  implement policies, consistent with the ADA, to accommodate the disabled, by

  requiring Defendant to alter and maintain its online reservation system in

  accordance with the requirements set forth in paragraph 7 above.2


  2
    The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
  enforce, a policy requiring regular monitoring of its online reservations system. As rates and classes of hotel rooms
  at the SBV, and the number and type of hotel rooms, beds, accommodations and amenities offered in the various
  unit types change from time to time, the availability of accessible units must be re-dispersed across these various
  price points, classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of the
  foregoing, in addition to regular ongoing website maintenance and to reflect physical changes at the SBV, the online



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          WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

  permanent injunction enjoining Defendant from continuing its discriminatory

  practices, ordering Defendant to implement policies, consistent with the ADA, to

  accommodate the disabled, through requiring Defendant to alter and maintain the

  online reservation system for the SBV in accordance with the requirements set

  forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’ fees,

  litigation expenses, including expert fees, and costs.

  COUNT II-CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA
            THE THIRD PARTY RESERVATION SERVICE

            18. Plaintiff realleges and incorporates paragraphs 1 through 12 above

  herein.

            19. The ADA violations for the Third Party Reservations Service consist

  of the following:

          a)       A failure of any policy, practice, or procedure ensuring that
                   individuals with disabilities can make reservations for accessible guest
                   rooms during the same hours and in the same manner as individuals
                   who do not need accessible rooms; and

          b)       A failure to identify and describe accessible features in the hotel and
                   guest rooms offered through the reservations service in enough detail
                   to reasonably permit individuals with disabilities to assess
                   independently whether the hotel or specific guest rooms meets his or
                   her accessibility needs.
  .



  reservations system must continuously be updated to properly reflect and describe Defendant's compliance with the
  substantive ADA Standards regarding accessible hotel rooms in accordance with 28 C.F.R. 36.302(e)(1).


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           20.      Plaintiff is without an adequate remedy at law and is suffering

  irreparable harm and he reasonably anticipates that he will continue to suffer

  irreparable harm unless and until Defendant enacts appropriate policies and makes

  reasonable efforts to make accessible rooms available through the Third Party

  Reservation Service and provides this service with information concerning the

  accessible and inaccessible features of the SBV and accessible rooms such that the

  operator of the service is able to correct the ADA violations on the system and

  maintain it, as to the SBV, in a manner that is consistent with and compliant with

  the requirements of 28 C.F.R. §36.302(e).

           21.       Plaintiff has retained the undersigned counsel for the filing and

  prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

  and expenses from Defendant, including litigation expenses and costs pursuant to

  42 U.S.C. §12205.

           22.      Pursuant to 42 U.S.C. § 12188(a), this Court is provided with

  authority to grant injunctive relief to Plaintiff, including an Order compelling

  Defendant to implement policies, consistent with the ADA, to accommodate the

  disabled in accordance with the requirements set forth in paragraph 7 above.3


  3
    The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
  enforce, a policy requiring regular monitoring of the online Reservation Service. As rates and classes of rooms
  change at the SBV, and the number and type of beds, accommodations and amenities offered in the various room
  types change from time to time, the availability of accessible rooms must be re-dispersed across these various price
  points, classes, as well as across rooms with disparate features (2010 ADA Standard 224.5). In light of the
  foregoing, to reflect physical changes at the SBV, the Reservations Service must continuously be updated to



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          WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

  permanent injunction enjoining Defendant from continuing its discriminatory

  practices, ordering Defendant to implement policies, consistent with the ADA, to

  accommodate the disabled, and to make reasonable efforts to have accessible

  rooms available for reserving through the Third Party Reservation Service by

  providing this service with information concerning the accessible and inaccessible

  features of the SBV and accessible rooms such that the operator of this site is able

  to correct the ADA violations on the site and maintain them, as to the SBV, in a

  manner that is consistent with and compliant with the requirements of 28 C.F.R.

  §36.302(e), and awarding Plaintiff reasonable attorneys’ fees, litigation expenses,

  including expert fees and costs.

                                                               s/Lee D. Sarkin
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  properly reflect and describe Defendant's compliance with the substantive ADA Standards regarding accessible
  hotel rooms in accordance with 28 C.F.R. 36.302(e)(1), which can only be accomplished with Defendant’s
  cooperation and participation with this Reservation Service.



                                                         11
